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                        Exhibit 
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                                                                                        Page 204
                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                           SAN FRANCISCO DIVISION
        _______________________________________
        RICHARD KADREY, ET AL.,                                         )
                     INDIVIDUAL AND REPRESENTATIVE                      )
                                                   PLAINTIFFS, ) LEAD CASE NO.
                               v.                                       ) 3:23-cv-03417-VC
        META PLATFORMS, INC.,                                           )
                                                     DEFENDANT. )
        _______________________________________)


             * * *   H I G H L Y         C O N F I D E N T I A L                   * * *
        * * *        A T T O R N E Y S '             E Y E S        O N L Y        * * *


                 VIDEO-RECORDED 30(B)(6) DEPOSITION OF
                                    MICHAEL CLARK
                                      VOLUME III
                       WEDNESDAY, NOVEMBER 20, 2024
                          SAN FRANCISCO, CALIFORNIA
                                    9:38 A.M. PST


               REPORTED BY AUDRA E. CRAMER, CSR NO. 9901
        ______________________________________________________
                               DIGITAL EVIDENCE GROUP
                          1730 M Street, NW, Suite 812
                               Washington, D.C. 20036
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                                                                                        Page 314
   1                   MS. HARTNETT:              Objection to the form.

   2                   THE WITNESS:             The removal of that data

   3     kept there from being additional noise

   4     introduced from repetitive phrases and from

   5     things that would introduce other noise or

   6     problems into the model itself.

   7     BY MS. POUEYMIROU:

   8           Q.      And would you say that removal of that

   9     facilitates training?

 10            A.      Removal of that data is one step in the

 11      data cleanup phase, which is one of many pieces

 12      to facilitate training.

 13            Q.      Okay.       So in the opening of this

 14      document, you have Sergey Edunov and Melanie

 15      Kambadur noted.

 16                    And what I was hoping you could explain

 17      is what is meant by this specific language:                                    "We

 18      need to make sure source metadata does not cause

 19      problems in training, stability, performance or

 20      leakage of sensitive info.                      We have experimental

 21      data now showing basically no negative effects

 22      for the v1 unhashed source metadata, but since



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                                                                                        Page 315
   1     this is small-scale, noisy evals, it's

   2     unfortunately not 100 percent conclusive.

   3     Intuitively, adding 5 to 10 percent to token

   4     size could be a risk."

   5                   And this is the sentence in particular

   6     I'm interested in:               "Also, unhashed source

   7     metadata is not acceptable from an IP-brand

   8     safety leakage perspective IMO.                          We have to be

   9     basically 100 percent confident no one can

 10      extract this data, and based on previous

 11      memorization work, I do not think we can be."

 12                    So can you walk me through what they're

 13      talking about.

 14                    MS. HARTNETT:              Object to the form.

 15                    THE WITNESS:             I was trying to find the

 16      exact line.

 17                    Was that the part from Melanie, or was

 18      that the --

 19      BY MS. POUEYMIROU:

 20            Q.      It looks like -- I mean, it's

 21      "Melanie:" and then @sergeyedunov?

 22                    MS. HARTNETT:              I think she's reading on



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                                                                                        Page 316
   1     the flip side, which is the --

   2                   THE WITNESS:             Oh, sorry.

   3                   MS. HARTNETT:              No, no, no.             On the

   4     first side, but the sentence that starts on the

   5     flip side.

   6                   THE WITNESS:             Thank you.            I was lost

   7     for a second there.

   8                   MS. HARTNETT:              Yeah, there's an "also"

   9     sentence there in the middle there.

 10                    THE WITNESS:             Can I just ask:                Do we

 11      have the context before this to know which

 12      source metadata was being referred to?

 13      BY MS. POUEYMIROU:

 14            Q.      No.      We just have this.

 15            A.      Okay.

 16                    Okay.       I asked the question on context

 17      around this to know if source metadata referred

 18      to dataset or individual elements in datasets or

 19      something else, because metadata can be attached

 20      to a variety of things.

 21                    When I -- and so not knowing which one

 22      it is referring to specifically, I think the --



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                                                                                        Page 348
   1     sharing the content outside.                        This could be

   2     legally not okay."

   3           A.      Okay.

   4           Q.      So maybe I'm misunderstanding, but I

   5     thought you said that Bashlykov said that they

   6     did use torrents, and I'm just trying to

   7     confirm -- this document suggest that they did a

   8     direct file upload -- if that's different than

   9     what he testified to.                  I'm just trying to

 10      understand.

 11            A.      Let me read in context the other parts

 12      of his notes here.

 13                    Okay.       Apologize.            I was confused by

 14      the page order.

 15            Q.      That's okay.

 16            A.      Do you mind asking that question once

 17      again?

 18            Q.      Yeah.       So I believe you've testified

 19      that you spoke with Bashlykov and that he said

 20      that they downloaded LibGen through torrent.

 21                    Is that correct?

 22            A.      That is correct.



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                                                                                        Page 349
   1           Q.      This says, "Decided to go with direct

   2     file upload without using torrents for the

   3     following reasons:               Using torrents would entail

   4     seeding the files, sharing the content outside.

   5     This could be legally not okay."

   6                   So how did Meta obtain and copy LibGen?

   7                   MS. HARTNETT:              Object to the form.

   8                   THE WITNESS:             So I spoke with

   9     Bashlykov.            We used libtorrent and the torrent

 10      protocol for downloading.                     We had tried to

 11      download a few different ways.                         One of them

 12      included doing it via direct downloads where

 13      there were individually hosted files in

 14      different places and saw many issues with that

 15      where files wouldn't exist, it was too slow or

 16      would error out.

 17                    Also tried -- well, actually, the other

 18      only other option was downloading via torrent,

 19      and --

 20      BY MS. POUEYMIROU:

 21            Q.      And that's what you did?

 22            A.      That's what we did.                   And the library



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                                                                                        Page 350
   1     that we used using, LibGen -- sorry --

   2     libtorrent for downloading LibGen, Bashlykov

   3     modified the config setting so that the smallest

   4     amount of seeding possible could occur.

   5           Q.      What does that mean?

   6           A.      When you use a torrent protocol, part

   7     of the configuration on how torrents work is you

   8     can only download as long as you offer to

   9     participate in the torrent network in some way,

 10      and seeding means that you have to open up some

 11      amount of sharing of the torrent file while

 12      you're downloading.

 13            Q.      So why did Meta decide to minimize

 14      seeding the files?

 15                    Is it because it was concerned that

 16      that was legally not okay, to quote this

 17      document?

 18                    MS. HARTNETT:              Objection to the form.

 19                    And to the extent it calls for any

 20      attorney-client privilege, please don't reveal

 21      that.

 22                    THE WITNESS:             Yeah, I do not know what



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                                                                                        Page 351
   1     Nikolay means in here by "legally not okay."                                     I

   2     know that legal did provide advice, which I

   3     can't share.           I can share what the setting was.

   4     BY MS. POUEYMIROU:

   5           Q.      Is Bashlykov a lawyer?

   6           A.      No.

   7           Q.      Okay.       So you ended up using torrent,

   8     but you minimized seeding the files?

   9           A.      To the lowest possible setting, yes.

 10            Q.      Are you familiar with anti-leeching

 11      protocol?

 12            A.      I've heard the term before.

 13                    In which context?

 14            Q.      In the context of -- with respect to

 15      seeding the files.

 16                    Is there a relationship what Meta was

 17      doing by minimizing the seeding of file with

 18      leeching?

 19            A.      Could you be more specific?

 20            Q.      How do you understand anti-leeching?

 21            A.      I don't -- I didn't prepare on it

 22      today.      I would only know from my just own



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